
PER CURIAM:
These claims have been consolidated by the Court on its own motion since all of the claims are governed by the same principles of law.
The claimants are attorneys who served as counsel for criminal indigents in juvenile, misdemeanor, or felony proceedings pursuant to the provisions of West Virginia Code Chapter 51, Article 11. Claimants’ fees were denied by the respondent because the fund was exhausted.
The factual situations in these claims are identical to that in Richard K. Swartling, et al. v. Office of the State Auditor, issued on November 5, 1979. Accordingly, the Court hereby grants awards to the claimants as follows:
Richard D. Frum — $38.32
Richard H. Brumbaugh — $124.00
Charles E. McCarty — $240.00
Gerald M. Titus, Jr. — $940.85
